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         IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF OKLAHOMA

    1. DAVID LEE HARTLEY,                      )
    2. LISA DIANE HARTLEY,                     )
                                               )
             Plaintiffs,                       )
                                               )
 v.                                            ) Case No.:17-cv-538-JED-JFJ
                                               )
    1. CSAA FIRE & CASUALTY INSURANCE )
       COMPANY, a foreign for profit Insurance )
       Corporation,                            )
                                               )
            Defendant.                         )

                                   COMPLAINT

                                     A. Parties

    1. Plaintiffs, David Lee Hartley and Lisa Diane Hartley, are each citizens of the

 State of Oklahoma.

    2.   Defendant, CSAA Fire & Casualty Insurance Company, is a foreign for-

 profit insurance corporation, incorporated and organized under the laws of the State

 of Indiana.

   3.    The principal place of business for Defendant, CSAA Fire & Casualty

 Insurance Company, is Walnut Creek, California.

   4.     The Defendant, CSAA Fire & Casualty Insurance Company, is licensed to

 conduct business in the State of Oklahoma and may be served with process through

 the Oklahoma Department of Insurance.
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    5.    This action is not related to any other case filed in this court.

                                    B. Jurisdiction

    6.    The court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332

 because there is diversity between the parties and the amount in controversy

 exceeds $75,000.00, exclusive of interest and costs.

                                        C. Facts

    7.     At all times material hereto, the Plaintiffs, David Lee Hartley and Lisa

 Diane Hartley, owned a home located at 20291 E. 33rd St. S. in Broken Arrow,

 Oklahoma, which was insured under the terms and conditions of a homeowners

 insurance policy, policy number HO54028150, issued by the Defendant, CSAA

 Fire & Casualty Insurance Company.

    8.    At all times material hereto, the Plaintiffs, David Lee Hartley and Lisa

 Diane Hartley, complied with the terms and conditions of their insurance policy.

    9.    During the summer of 2017, the Plaintiffs’ home sustained damage as a

 result of wind and hail. These damages are covered pursuant to the terms and

 conditions of Plaintiffs’ insurance policy.

   10.   Wind and hail are covered perils not limited or excluded pursuant to the

 terms and conditions of Plaintiffs’ insurance policy.

                           D. Count I: Breach of Contract

   11.    Plaintiffs, David Lee Hartley and Lisa Diane Hartley, hereby assert, allege
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 and incorporate paragraphs 1-10 herein.

    12.    The homeowners insurance policy, policy number HO54028150, issued

 by Defendant, CSAA Fire & Casualty Insurance Company, was in effect at the

 time of Plaintiffs’ wind and hail loss.

    13.    Subsequent to the wind and hail storm, Plaintiffs, David Lee Hartley and

 Lisa Diane Hartley, timely submitted a claim to Defendant, CSAA Fire & Casualty

 Insurance Company (Claim No.1002-22-2884).            Defendant refused to issue

 payment to fully repair and/or replace Plaintiffs’ obviously wind and hail damaged

 roofing system. Defendant’s refusal to pay for repair and/or replacement of the

 Plaintiffs’ damaged roofing system constitutes a breach of the insurance policy.

    14.    The acts and omissions of Defendant, CSAA Fire & Casualty Insurance

 Company, in the investigation, evaluation, and denial of Plaintiffs’ claim were

 unreasonable and constitute a breach of contract for which contractual damages are

 hereby sought. Defendant, CSAA Fire & Casualty Insurance Company, breached

 its contract with Plaintiffs, David Lee Hartley and Lisa Diane Hartley, by failing to

 conduct a reasonable investigation of the Plaintiffs’ claim and by improperly

 denying payment and coverage for Plaintiffs’ obviously wind and hail damaged

 roofing system. Defendant ignored and refused to consider obvious evidence of

 wind and hail damage and denied the Plaintiffs’ claim improperly, without

 adequate investigation, and without any reasonable basis.
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                               E. Count II: Bad Faith

     15. Plaintiffs, David Lee Hartley and Lisa Diane Hartley, hereby assert, allege

 and incorporate paragraphs 1-14 herein.

    16.   The acts and omissions of the Defendant, CSAA Fire & Casualty

 Insurance Company, in the investigation, evaluation and payment of Plaintiffs’

 claim were unreasonable and constitute bad faith for which bad faith and extra-

 contractual damages are hereby sought.

    17.    Defendant CSAA Fire & Casualty Insurance Company’s unreasonable

 refusal to pay the cost to fully repair and/or replace the Plaintiffs’ obviously wind

 and hail damaged roofing system is a bad faith breach of Plaintiffs’ insurance

 policy. Defendant, CSAA Fire & Casualty Insurance Company, acted in bad faith

 by failing to conduct a reasonable investigation of the Plaintiffs’ claim and by

 improperly denying payment and coverage for Plaintiffs’ wind and hail damaged

 roofing system. Defendant ignored and refused to consider obvious evidence of

 wind and hail damage and denied the Plaintiffs’ claim improperly, without

 adequate investigation, and without any reasonable basis.

    18.     Defendant CSAA Fire & Casualty Insurance Company’s refusal to pay

 for the damage to Plaintiffs’ roofing system was unreasonable, outside of insurance

 industry standards, and was committed in bad faith.
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                                F. Punitive Damages

     19. Plaintiffs, David Lee Hartley and Lisa Diane Hartley, hereby assert, allege

 and incorporate paragraphs 1-18 herein.

     20.    The unreasonable conduct of the Defendant, CSAA Fire & Casualty

 Insurance Company, in the handling of Plaintiffs’ claim was intentional, willful,

 wanton and was committed with a reckless disregard for the rights of the Plaintiffs,

 David Lee Hartley and Lisa Diane Hartley, for which punitive damages are hereby

 sought.

                             G. Demand for Jury Trial

    21.    Plaintiffs, David Lee Hartley and Lisa Diane Hartley, hereby request that

 the matters set forth herein be determined by a jury of their peers.

                                      H. Prayer

    22.      Having properly pled, Plaintiffs, David Lee Hartley and Lisa Diane

 Hartley, hereby seek contractual, bad faith and punitive damages against the

 Defendant, CSAA Fire & Casualty Insurance Company, together in an amount in

 excess of $75,000.00; including costs, interest and attorney fees.
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                                     Respectfully submitted,

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